                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

GABRIELA NIEVES,                               )
                                               )
                           Plaintiff,          )
                                               )
                      v.                       )     No. 1:20-cv-00320-JMS-DML
                                               )
CARMEL CLAY SCHOOLS,                           )
                                               )
                           Defendant.          )
                                               )

                      Order on Non-Party's Motion to Seal

      Non-party Ray Lawrence seeks to seal affidavits that were filed in connection

with his motion to quash subpoena; three are his own affidavits. He contends that

the affidavits should be sealed because they contain "sensitive, disputed, and

potentially legally perilous" information that the court found has minimal relevance

to the claims in this case.

      Information that affects the disposition of contested matters is presumptively

open to the public unless it fits the category of a trade secret or other matter of

“bona fide long-term confidentiality.” See Bond v. Utreras, 585 F.3d 1061, 1075 (7th

Cir. 2009). The presumption of public access applies here and neither exception fits;

the court evaluated the information in the affidavits both for purposes of resolving

the motion to quash and resolving a satellite issue about certain contents of some of

the affidavits. Further, in the court's review, most of the documents sought to be

sealed—the three proponent affidavits—do not contain highly sensitive information.

With respect to the remaining affidavit, the information about which Mr. Lawrence
objects appears in other places and thus sealing the affidavit does not provide the

relief he seeks.

      For these reasons, Mr. Lawrence's motion to seal (Dkt. 116) is DENIED.

      So ORDERED.


      Dated: June 1, 2021
                                        ____________________________________
                                           Debra McVicker Lynch
                                           United States Magistrate Judge
                                           Southern District of Indiana




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